January 18, 2022

BY ECF

The Honorable Brian M. Cogan
United States District Court
225 Cadman Plaza East
Brooklyn, New York 11201

Re:      Force v. Qatar Charity, 20-cv-2578 (BMC), Request for Pre-Motion Conference

Dear Judge Cogan:

        On behalf of Defendant Qatar National Bank Q.P.S.C. (“QNB”) and in accordance with
Rule III(A)(2) of the Court’s Individual Rules, we respectfully request a pre-motion conference in
connection with QNB’s anticipated motion to dismiss. QNB’s deadline to file its motion to dismiss
is currently January 31, 2022. Given the large number of legal issues and sub-issues involved in the
motion to dismiss, we also respectfully request, pursuant to Rule III.B.1 of Your Honor’s Individual
Practices, 35 pages for the memorandum of law in support of the motion to dismiss. Plaintiffs
oppose the request for extended page limits and propose to file opposition briefs 30 days after
jurisdictional discovery ends. QNB objects to jurisdictional discovery before dispositive motions
are addressed, for the reasons discussed below. Plaintiffs have brought this action to recover
damages for alleged violations of the Anti-Terrorism Act (the “ATA”), asserting claims for
wrongful death, personal injury, and related torts against QNB, Qatar Charity (“QC”), and Masraf
Al Rayan (“MAR”). See Compl. ¶¶ 354-407. Specifically, Plaintiffs allege that (1) QNB
maintained bank accounts for QC and other individuals, and (2) funds transferred from these
accounts were ultimately used to finance activities of Hamas and Palestinian Islamic Jihad (“PIJ”)
that caused injury to Plaintiffs. See Compl. ¶¶ 8-9. QNB disputes these allegations and will move
to dismiss Plaintiffs’ claims on the following grounds:

        1. This Court does not have personal jurisdiction over QNB. Plaintiffs do not sufficiently
allege personal jurisdiction pursuant to New York’s long-arm statute. 1 Plaintiffs’ vague and
conclusory allegations that unspecified “Defendants . . . transacted business and committed tortious
acts within the United States (and New York) by transferring funds through the United States (and
New York) for the benefit of Hamas and PIJ” are insufficient. Compl. ¶ 12; see Licci ex rel. Licci v.
Lebanese Canadian Bank, SAL (Licci II), 732 F.3d 161, 168 (2d Cir. 2013) (regarding allegations
involving foreign banks engaging with correspondent banks in New York, both the “frequency” and

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  Plaintiffs allege two additional statutory bases for personal jurisdiction: (i) minimum contacts with the United States as
a whole pursuant to Fed. R. Civ. P. 4(k)(2) and (ii) service of process as provided under the ATA. These are also
insufficient bases to establish personal jurisdiction over QNB. Plaintiffs have alleged no facts that QNB has significant
contacts with the United States as a whole. The ATA provides that “any civil action under section 2333 of this title
against any person may be instituted in the district court of the United States for any district where any plaintiff resides
or where any defendant resides or is served, or has an agent.” 18 U.S.C. § 2334(a). QNB does not reside or have an
agent in the Eastern District of New York, and Plaintiffs have not served QNB in this district.
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“deliberate nature” of the bank’s contacts are “determinative”). Plaintiffs allege no facts regarding
the volume, frequency, or deliberate nature of any fund transfers by QNB through New York, much
less that such fund transfers were “substantial” and the “proximate cause” of the Plaintiffs’ injuries.
SPV Osus, Ltd. v. UBS AG, 882 F.3d 333, 344 (2d Cir. 2018). Notably, the only allegations in the
Complaint that mention QNB and New York are allegations against the Defendants collectively, not
against QNB specifically. Compl. ¶¶ 12-13; see Walden v. Fiore, 571 U.S. 277, 284 (2014)
(explaining that a defendant’s contacts with the forum state to establishing personal jurisdiction
“must arise out of contacts that the ‘defendant himself’ creates with the forum”) (citation omitted).
As Plaintiffs’ later, more detailed narrative makes clear, the alleged transfers through New York
involved only MAR, and not QNB. Compl. ¶¶ 132-33. Given the flimsy nature of these allegations
against QNB, Plaintiffs cannot establish a prima facie case for personal jurisdiction, nor can they
identify any genuine issue of jurisdictional fact; indeed, jurisdictional discovery would be
inappropriate on such deficient allegations. See Mednik v. Specialized Loan Servicing, LLC, No.
20-cv-427 (MKB), 2021 WL 707285, at *8 (E.D.N.Y. Feb. 23, 2021) (noting that “discovery need
not be granted to permit a fishing expedition for jurisdictional facts” (quotation omitted)); see also
Daventree Ltd. v. Republic of Azerbaijan, 349 F. Supp. 2d 736, 761 (S.D.N.Y. 2004) (“[A] court is
not obligated to subject a foreign corporation to discovery where the allegations of jurisdictional
facts, construed most favorably in the plaintiff's favor, fail to state a basis for the exercise of
jurisdiction.”).

        2. Plaintiffs fail to state a claim for primary liability under § 2333(a). First, Plaintiffs’
conclusory assertion that QNB provided material support to Foreign Terrorist Organizations
(“FTOs”) through “financial assistance” that “played an integral role in the ability of those FTOs to
carry out terrorist attacks,” Compl. ¶ 385, is premised solely on Plaintiffs’ allegation that QNB
transferred funds from a client’s account at QNB to the same client’s account at another bank, with
no allegation that QNB’s client engaged in any terrorist act. See Compl. ¶¶ 7-8. This amounts to
nothing more than an allegation that QNB performed routine banking services, which alone cannot
establish liability under the ATA for an act of international terrorism. See Linde v. Arab Bank,
PLC, 882 F.3d 314, 327 (2d Cir. 2018); Siegel v. HSBC Bank USA, N.A., No. 17-cv-6593 (DLC),
2018 WL 3611967, at *3 (S.D.N.Y. July 27, 2018), aff’d sub nom. Siegel v. HSBC N. Am. Holdings,
Inc., 933 F.3d 217 (2d Cir. 2019). Second, the Complaint fails to plausibly allege proximate cause
because the services QNB allegedly provided were routine banking services and far too attenuated
from Plaintiffs’ alleged injuries. See Rothstein v. UBS AG, 708 F.3d 82, 92 (2d Cir. 2013); Kaplan
v. Lebanese Canadian Bank, SAL, 405 F. Supp. 3d 525, 533 (S.D.N.Y. 2019), rev’d on other
grounds, 999 F.3d 842 (2d Cir. 2021).

         3. Plaintiffs fail to state a claim of aiding and abetting secondary liability pursuant to 18
U.S.C. § 2333(d). Plaintiffs do not plausibly allege that QNB was generally aware of its role in
illegal activity that foreseeably led to the alleged terrorist acts. See Honickman v. BLOM Bank SAL,
6 F.4th 487, 496 (2d Cir. 2021); Averbach v. Cairo Amman Bank, No. 19-cv-0004, 2020 WL
486860, at *13 (S.D.N.Y. Jan. 21, 2020), R. & R. adopted sub nom. Averbach for Estate of
Averbach v. Cairo Amman Bank, 2020 WL 1130733 (S.D.N.Y. Mar. 9, 2020) (“Merely provided
banking services to a Hamas-affiliated charity does not satisfy JASTA’s mens rea requirement.”).
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Also, Plaintiffs do not allege the types of “red flags” that Your Honor has previously found may be
enough to establish general awareness. Cf. Estate of Henkin v. Kuveyt Turk Katilim Bankasi, A.S.,
495 F. Supp. 3d 144 (E.D.N.Y. 2020).

        Further, Plaintiffs fail to satisfy the Second Circuit’s test to determine whether QNB
provided knowing and substantial assistance to the principal in the acts that resulted in Plaintiffs’
injuries.2 See Linde, 882 F.3d at 329 (citation omitted). While Plaintiffs fail to allege facts to
satisfy many of the six factors the Second Circuit has applied in ATA cases, most notably Plaintiffs
plead a relationship that is far too attenuated between QNB and the FTOs at issue to satisfy the
fourth factor of that analysis (aside from simply an allegation that QNB maintained bank accounts
for entities or persons allegedly connected to Hamas or PIJ, which the Complaint fails to connect to
any terrorist activities). See Honickman, 6 F.4th at 500-01 (discussing Siegel).

        4. Plaintiffs fail to state a claim of conspiracy secondary liability pursuant to 18 U.S.C. §
2333(d). The Complaint contains no allegation that QNB conspired directly with the person or
entity that committed the acts of international terrorism that injured Plaintiffs, which is required to
establish conspiracy secondary liability. See, e.g., Freeman v. HSBC Holdings PLC, 413 F. Supp.
3d 67, 98 n.1 (E.D.N.Y. 2019). Plaintiffs’ allegations that QNB provided routine banking services
to QC and certain individuals cannot “lead one to infer that [QNB] shared any common goal of
committing an act of international terrorism.” See, e.g., Kaplan, 405 F. Supp. at 534.

        5. Plaintiffs’ attempted service on QNB is insufficient. After initially seeking to effect
service through Letters Rogatory (ECF No. 18), which they have not accomplished, Plaintiffs
attempted to serve QNB pursuant to Federal Rule of Civil Procedure (“FRCP”) 4(f)(2)(C)(ii).
“Rule 4(f)(2)(C)(ii) allows service via mail, subject to certain restrictions,” the most relevant of
which is that such service is “not prohibited by the foreign country’s law.” In re Coudert Bros.
LLP, No. 16-CV-8237 (KMK), 2017 WL 1944162, at *10 (S.D.N.Y. May 10, 2017) (emphasis
added). None of Plaintiffs’ filings address Qatari law on service by mail. “Plaintiffs’ silence on the
issue does not allow the court to assume that service by mail is not prohibited” by that law. Nabulsi
v. Zayed Al Nahyan, No. H-06-2683, 2008 WL 1924235, at *4 (S.D. Tex. Apr. 29, 2008). Service
is also improper because Plaintiffs have not provided any information about the individual named
“H. Hussain” who purportedly received the FedEx package delivered to QNB containing the
summons and complaint. See ECF No. 24; Rosenberg v. Lashkar-E-Taiba, No. 10-CV-5381 (DLI)
(CLP), 2017 WL 11647006, at *2, 4 (E.D.N.Y. Mar. 31, 2017).

       6. Failure to Demonstrate Statutory Standing. QNB intends to adopt in its motion to
dismiss the arguments of its co-defendants regarding lack of standing of thirteen Plaintiffs.




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  The factors the Second Circuit has referenced are (1) the nature of the act encouraged; (2) the amount of assistance
given by the defendant; (3) defendant’s presence at the time of the tort; (4) the defendant’s relation to the principal; (5)
the defendant’s state of mind; and (6) the duration of the defendant’s assistance.
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Respectfully submitted,



/s/ Michael G. McGovern_____________

Michael G. McGovern

cc: All parties of record (by ECF)
